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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

 THOMAS GRANINO,

                      Plaintiff,
                                                         Case No. 0:10-cv-61300-CMA
 v.

 AMERICAN CORADIUS
 INTERNATIONAL, LLC,

                      Defendant.
                                               /

                            NOTICE OF PENDING SETTLEMENT

        Defendant, American Coradius International, LLC, by and through its undersigned

 counsel, hereby submits this Notice of Pending Settlement and states that the parties have

 reached a verbal settlement with regard to this case and are presently drafting, finalizing,

 and executing the settlement and dismissal documents. Upon execution of the same, the

 parties will file the appropriate dismissal documents with the Court.

 DATED this 20th day of August 2010.

                                           Respectfully submitted,

                                           s/ Kenneth C. Grace, Esq.
                                           Kenneth C. Grace, Esq.
                                           Florida Bar No.: 0658464
                                           SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.C.
                                           3350 Buschwood Park Drive, Suite 195
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                                           kgrace@sessions-law.biz
                                           Attorney for Defendant

                                   CERTIFICATE OF SERVICE
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        I hereby certify that on this 20th day of August 2010, a true and correct copy of the
 foregoing was sent via CM/ECF electronic filing to the following:

                                                             Andrew I. Glenn
                                                           Card & Glenn, P.A.
                                                   2501 Hollywood Boulevard, Suite 100
                                                        Hollywood, Florida 33020


                                                                       s/ Kenneth C. Grace, Esq.
                                                                       Attorney




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